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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


In Re:                                                     Case No.:          19-13057 (VFP)
                                                                            __________________
Jay Garcia, Debtor,                                        Chapter:                  7
                                                                            __________________
                                                           Judge:            Vincent F. Papalia
                                                                            __________________


                             NOTICE OF PROPOSED ABANDONMENT

              Eric R. Perkins
__________________________________,            Chapter 7 Trustee in this case proposes to abandon
                                             ____________________
property of the estate described below as being of inconsequential value. If you object to the
abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
serve it on the party named below not later than 7 days before the hearing date.

    Address of the Clerk: Martin Luther King Jr. Federal Building
                         50 Walnut Street
                         Newark, NJ 07102



                                                                                       Vincent F. Papalia, USBJ
If an objection is filed, a hearing will be held before the Honorable _______________________________
          May 14, 2019
on ______________________               10:00
                                  at ________a.m.       at the United States Bankruptcy Court, Courtroom no.
    3B
________. (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
abandonment shall take effect on entry by the clerk of a Certification of No Objection.
    Description and value of property: 6122 Washington Street
                                      North Bergen, NJ 07047
                                      $385,000 as per CMA provided by Debtor
 


    Liens on property:                 Mortgage in the amount of $1,026,910.60




    Amount of equity claimed as exempt: $0



Objections must be served on, and requests for additional information directed to:

Name:             Eric R. Perkins, Chapter 7 Trustee
                  ________________________________________________________________________
Address:          354 Eisenhower Parkway, Suite 1500, Livingston, NJ 07039
                  ________________________________________________________________________
               973-422-1100
Telephone No.: ________________________________________________________________________

                                                                                                       rev.8/1/15
